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              In the United States Court of Federal Claims
                                           No. 21-996C
                                      (Filed: June 10, 2021)
                                    NOT FOR PUBLICATION
***************************************
DAVID BRIAN MORGAN,                   *
                                      *
                  Plaintiff,          *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
                                      *
***************************************
                                      OPINION AND ORDER
      Pro se plaintiff David Brian Morgan challenges his allegedly unjust
imprisonment by the State of Oklahoma. Compl. at 1 (ECF 1). Defendant’s motion to
dismiss for lack of subject-matter jurisdiction is ripe for decision.1 Because Mr.
Morgan seeks relief this Court may not grant, based on sources of law that do not
confer rights he can assert here, the Court does not have jurisdiction. Accordingly,
the motion to dismiss is GRANTED.
                                            DISCUSSION
       Mr. Morgan is serving a life sentence in Oklahoma state prison after being
convicted of several state-law crimes. Compl. at 1; Morgan v. Oklahoma, 814 F. App’x
353, 354 (10th Cir. 2020). His repeated petitions for writs of habeas corpus have been
denied. See Morgan v. Pettigrew, No. CIV-20-932-F, 2020 WL 7416933, at *2 (W.D.
Okla. Nov. 23, 2020), report and recommendation adopted, No. CIV-20-932-R, 2020
WL 7410103 (W.D. Okla. Dec. 17, 2020). He now asks this Court to (1) “credit all time
served,” (2) “waive all fees and encumbrances owed,” (3) grant “complete immunity”
from further prosecution, and (4) discharge him from state custody. Compl. at 8. He
also appears to request criminal charges against state officials and relief for a class
of similarly situated Oklahoma prison inmates. Pl.’s Resp. at 6.
        This Court’s subject-matter jurisdiction — its authority to pass judgment on
the cases before it — is limited to specific types of claims against the federal
government, most commonly claims for money as provided by the Tucker Act. See,
e.g., 28 U.S.C. § 1491(a)(1); see also Brown v. United States, 105 F.3d 621, 623 (Fed.
Cir. 1997) (“The Court of Federal Claims is a court of limited jurisdiction.”). Perhaps

1   See Def.’s Mot. to Dismiss (ECF 10); Pl.’s Resp. (ECF 14); Def.’s Reply (ECF 15).
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confusingly for pro se litigants, it is not a forum for “federal claims” generally. Claims
outside the Court’s jurisdiction must be dismissed. RCFC 12(h)(3). The matters Mr.
Morgan’s complaint raises are not among the subjects this Court may address.2
       First, Mr. Morgan’s claims amount to a collateral attack on his state-court
convictions. State prisoners may pursue such claims in federal district court by
seeking writs of habeas corpus, as Mr. Morgan has done several times. See 28 U.S.C.
§ 2254. But this Court, in contrast, cannot grant habeas relief. Ledford v. United
States, 297 F.3d 1378, 1381 (Fed. Cir. 2002) (explaining that the Court of Federal
Claims was not one of the courts authorized by statute to grant habeas relief); see
also Rolle v. United States, 752 F. App’x 1005, 1006–07 (Fed. Cir. 2018) (similar).
       Relatedly, this Court also may not “review any of the judgments of the
[Oklahoma] state and federal courts with respect to [Mr. Morgan’s] criminal case[.]”
Jones v. United States, 440 F. App’x 916, 918 (Fed. Cir. 2011); see also Joshua v.
United States, 17 F.3d 378, 380 (Fed. Cir. 1994) (“[T]he Court of Federal Claims does
not have jurisdiction to review the decisions of district courts or the clerks of district
courts relating to proceedings before those courts.”). That means this Court cannot
consider Mr. Morgan’s objections to the federal district court’s denial of his habeas
petitions. He must press those arguments, if at all, on appeal to the U.S. Court of
Appeals for the Tenth Circuit.
       Second, even if Mr. Morgan sought relief within this Court’s power to provide,
he is a state prisoner, and his claims are directed ultimately at Oklahoma state
officers and entities. The United States, however, is “the only proper defendant for
any matter before this court[.]” See Stephenson v. United States, 58 Fed. Cl. 186, 190
(2003). The complaint gives no reason why Mr. Morgan should be entitled to relief
against the United States. At most, Mr. Morgan alleges that the district court erred
in denying his habeas petitions — claims that this Court, again, has no power to hear.
See Joshua, 17 F.3d at 380.
       Third, none of the sources of law Mr. Morgan mentions create jurisdiction in
this Court. Claims in this Court generally must be based on a “money-mandating”
law, i.e., a law that “can fairly be interpreted as mandating compensation by the
Federal Government for the damage sustained[.]” Jan’s Helicopter Serv., Inc. v.
F.A.A., 525 F.3d 1299, 1307 (Fed. Cir. 2008) (quoting United States v. Mitchell, 463
U.S. 206, 217 (1983)). This Court “has no jurisdiction over criminal matters,” see
Jones, 440 F. App’x at 918, or over claims sounding in tort, see 28 U.S.C. § 1491(a)(1).


2 “In determining jurisdiction, a court must accept as true all undisputed facts asserted in the
plaintiff’s complaint and draw all reasonable inferences in favor of the plaintiff.” Trusted Integration,
Inc. v. United States, 659 F.3d 1159, 1163 (Fed. Cir. 2011) (citing Henke v. United States, 60 F.3d 795,
797 (Fed. Cir. 1995)). “Although a pro se plaintiff’s complaint is held to a less stringent standard than
those prepared by counsel, … pro se litigants are not excused from meeting jurisdictional
requirements.” Spengler v. United States, 688 F. App’x 917, 920 (Fed. Cir. 2017) (citations omitted)
(citing Hughes v. Rowe, 449 U.S. 5, 9 (1980); Kelley v. Sec’y, U.S. Dep’t of Labor, 812 F.2d 1378, 1380
(Fed. Cir. 1987)).

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       The laws Mr. Morgan relies upon fail that test. The Major Crimes Act, 18
U.S.C. § 1153(a), and the federal kidnapping statute, 18 U.S.C. § 1201, do not appear
to be money-mandating, and Mr. Morgan’s claims based on those statutes sound in
tort or federal criminal law. Cf. Kenyon v. United States, 127 Fed. Cl. 767, 774 (2016)
(dismissing Major Crimes Act claims as based on criminal law), aff’d, 683 F. App’x
945 (Fed. Cir. 2017). None of the constitutional provisions Mr. Morgan mentions
appears to be money-mandating either. Binding or persuasive precedent, in fact,
forecloses interpreting most (if not all) of them as money-mandating. See United
States v. Connolly, 716 F.2d 882, 887 (Fed. Cir. 1983) (First Amendment); Seely v.
United States, No. 15-786C, 2015 WL 7432747, at *3 (Fed. Cl. Nov. 23, 2015) (Grand
Jury Clause); James v. Caldera, 159 F.3d 573, 581 (Fed. Cir. 1998) (Double Jeopardy
Clause); Omran v. United States, 629 F. App’x 1005, 1008 (Fed. Cir. 2015) (Sixth
Amendment); Alston-Bullock v. United States, 122 Fed. Cl. 38, 44 (2015) (same);
LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995) (Due Process and Equal
Protection Clauses); McCullough v. United States, 76 Fed. Cl. 1, 4 (2006) (same); Wall
v. United States, 141 Fed. Cl. 585, 598 (2019) (Privileges or Immunities Clause);
Trafny v. United States, 503 F.3d 1339, 1340 (Fed. Cir. 2007) (Eighth Amendment).
No other basis for jurisdiction over any of Mr. Morgan’s claims appears to exist.
                                    CONCLUSION
      For the foregoing reasons, Defendant’s Motion to Dismiss is GRANTED. Mr.
Morgan’s complaint is DISMISSED, without prejudice, for lack of jurisdiction. See
Aerolineas Argentinas v. United States, 77 F.3d 1564, 1572 (Fed. Cir. 1996) (“[I]n the
absence of subject matter jurisdiction there can be no preclusive findings or
conclusions on the merits, and dismissal for lack of jurisdiction is without prejudice.”).
Plaintiff’s “Motion to Remit to the Court” (ECF 9), requests for counsel (e.g., ECF 17),
and motion for leave to file sur-replies (ECF 20) are, accordingly, DENIED AS
MOOT.
      The Clerk is directed to enter judgment accordingly.


      IT IS SO ORDERED.
                                                s/ Stephen S. Schwartz
                                                STEPHEN S. SCHWARTZ
                                                Judge




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